Case: 1:17-md-02804-DAP Doc #: 2373-22 Filed: 08/14/19 1 of 10. PageID #: 388293




                 EXHIBIT 47
        Case: 1:17-md-02804-DAP Doc #: 2373-22 Filed: 08/14/19 2 of 10. PageID #: 388294
        DOCUMENT PRODUCED IN NATIVE FORMAT




HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                 MCKMDL00533984
                                                                                 MCKM DL00533984
                                                  Case: 1:17-md-02804-DAP Doc #: 2373-22 Filed: 08/14/19 3 of 10. PageID #: 388295


                                                                                                                           Date of Action
                                                                                                                                                                                     Local DEA Field Office Notification (enter
 Region   Reg DC                   Customer Name                   DEA #      State License #               City   State        (enter as               Action Taken                                                                                Notes/Comments
                                                                                                                                                                                         contact information name/date)
                                                                                                                           mm/dd/yyyy)
                   30+ Houston area pharmacies applied to
                   Moore Medical/MMS to have accounts                                                                                    New Customer not accepted for control                                                    stores were not opened; reported to Sharnett Latimore,
South     8115     opened                                   n/a                    n/a          Houston            TX            Dec-'10 purchases                                                                                Houston DPM
                                                                                                                                                                                                                                  also notified DI Jason Allen, DEA Atlanta; Barbara
                                                                                                                                          Level 3 - Suspicious / Reported to        DI Mike Callan, DEA Greensboro, NC (336-      Heath Atlanta DPM (via letter); and Josh Kohler NC
South     8148     A2Z Pharmacy                             FA2436207             10927         Charlotte          NC            3/15/13 DEA/control sales suspended                547-4219)                                     BOP
                                                                                                                                          New Customer not accepted for control                                                   review of practice, data, RSM discussion led MCK not
South     8195     Aberdeen Pharmacy                        n/a                 PH24789         Boynton Beach      FL             Jul-'11 purchases                                                                               to open
                                                                                                                                                                                    Ms Lindsey Malocu Diversion Investigator
                                                                                                                                                                                    DEA Techworld Plaza 800 K St NW
North                                                                                                                                    Level 3 - Suspicious / Reported to         Suite 500 Washington, DC 20001                Multiple scripts for Oxycodone 30mg from Dr Hampton
East      8813     Accokeek Pharmacy                        BA6800216                           Accokeek           MD            1/12/12 DEA/control sales suspended                Letter sent 1/16/12                           Jackson in sequential order all paying cash.
                                                                                                                                                                                                                                  Many scripts from Dr Hampton Jackson and high
North                                                                                                                                    Level 3 - Suspicious / Reported to         Ms Lindsey Malocu Diversion Investigator      percentage of Oxycodne 30mg to Oxycodone
East      8813     Accokeek Pharmacy                        BA6800216                           Accokeek           MD            1/12/12 DEA/control sales suspended                Washington DC                                 purchases. Also many cash sales.
                                                                                                                                                                                                                                  Customers to which controlled substance thresholds
                                                                                                                                                                                                                                  were reduced or supplies were discontinued due to
West      8182     Advanced Care Pharmacy                   BA821192            PHY46345        Sacramento         CA             5/1/10 Threshold reduced                          N/A                                           business decision.
                                                                                                                                         New Customer not accepted for control
West      8147     Advanced Care Phcy                       FA2327852           PH02656         Las Vegas          NV            1/23/12 purchases                                  Jayne Griffin/Las Vegas                       Denied new customer application after vetting process.
                                                                                                                                         Level 3 - Suspicious / Reported to                                                       Level 3; reported to DEA; raided by FBI days later;DEA
South     8115     Advanced Doctors Prescription Pharmacy   FA0408167              n/a          San Antonio        TX            Aug-'08 DEA/control sales suspended                                                              expired
South       8126 After Hours                                BA7400497                           Jasper, AL         AL            1/31/12 LDMP reduction by ~25%                     N/A
                                                                                                                                                                                                                                  Customer had come to McKesson in September 2012
                                                                                                                                         Level 3 - Suspicious / Reported to                                                       from ABC; high fills from Cookeville Pain
South     8149     Algood Drugs (Bretthaven, Inc.)          FA1855925                     4740 Algood/Cookville    TN            10/5/12 DEA/control sales suspended                Larry Lockhart                                Management; prior fills for docs in GA.
                                                                                                                                         New Customer not accepted for control                                                    Regulatory review led McKesson to decline this
                   Arizona Pharmacy 1                       FA1983394            S017425        Surprise           AZ            8/13/12 purchases                                  Jeff Morgan/Phoenix                           application.
North                                                                                                                                    Level 3 - Suspicious / Reported to                                                       Level 3, closed account and was reported to DEA.
East      8176     ATA Pharmacy                             FA0689541                           Philadelphia       PA                    DEA/control sales suspended                                                              Business remains open.
North                                                                                                                                    Level 3 - Suspicious / Reported to                                                       Level 3, closed account and was reported to DEA.
East      8176     ATA Pharmacy                             FA0689541                           Philadelphia       PA                    DEA/control sales suspended                                                              Business remains open.
                                                                                                                                                                                                                                  • Out of State Scripts (Kentucky, Georgia, etc.)
                                                                                                                                                                                                                                  • Out of State practitioner’s DEA licenses (Florida,
                                                                                                                                                                                                                                  Georgia)
                                                                                                                                                                                                                                  • Dispensing for Physicians with DEA licenses having
                                                                                                                                                                                                                                  expired
                                                                                                                                                                                                                                  • Not meetings the minimum requirements required of
                                                                                                                                                                                    Enrique Cancel, DEA Group Supervisor,         Good Pharmacy Practices
                                                                                                                                                                                    Drug Enforcement Agency, Richmond             • High Controls to standard Rx %
North                                                                                                                                                                               District Office, 111 Greencourt Road          • % of cash sales high
East      8120     Beaverdam Pharmacy                       FB3024471              N/A          Beaverdam          VA            2/19/13 Level 3 - Termination of customer          Richmond, VA 23228                            • Practice types providing scripts, etc.
                                                                                                                                          New Customer not accepted for control                                                   review of practice, data, RSM discussion led MCK not
South     8195     Boynton Pharmacy                         n/a                 PH24540         Boynton Beach      FL             Jul-'11 purchases                                                                               to open
                                                                                                                                                                                                                                  Pharmacy owned by pain management doctor
                                                                                                                                                                                                                                  disengaged after repeated requests for threshold
                                                                                                                                         Constructive disengagement of                                                            increases; not prime for MCK community pharmacy
South       8126 C&R Pharmacy                               FC2476047                           Mobile, Al         AL            1/31/12 secondary per VPGM                         N/A                                           model

South     8195     Cantonment Pharmacy                      AC5573767              n/a          Cantonment         FL            Jan-'09 Other - explain in the commnents section                                                 discontinued because of ratio/low sales
                                                                                                                                                                                    Mr John Hennessy Diversion Investigator
                                                                                                                                                                                    DEA Hartford R.O. 716 Brook St Suite 110
North                                                                                                                                     Level 3 - Suspicious / Reported to        Rocky Hill, CT 06067                 Letter   Oxycodone 30mg percent to all oxycodone was above
East      8191     Castle Hill Drugs, Inc                   FC0861345                           Bronx              NY            11/8/11 DEA/control sales suspended                sent 11/17/12                                 90%
North                                                                                                                                     Level 3 - Suspicious / Reported to        Mr John Hennessey DEA Hartford RO Rocky       Dr Virey was high script count and Oxy30 mg was
East      8191     Castle Hill Drugs, Inc                   FC0861345                           New York           NY            11/8/12 DEA/control sales suspended                Hill, CT                                      >90% of all Oxycodone
South     8195     Center City Pharmacy                     BC9399949              n/a          WPB                FL             Jul-'11 Threshold reduced                                                                       83K-->30K; Florida HB 7095
                                                                                                                                          Level 3 - Suspicious / Reported to                                                      Tier Three that we stopped supplying with controls and
West      8138     Century Plaza                            BC9434046            PHY665         Honolulu           HI            3/27/09 DEA/control sales suspended                Linda Martin/Honolulu - Michael Lewis/ LA     were reported to the DEA
North
East      8176     City Pharmacy                            AT1701172                           Elkton             MD             2/3/12 Threshold reduced                                                                        Reduced from 185,000 to 60,000 Oxycodone

                                                                                                                                                                                    On May 1,2012 I informed Diversion Program
                                                                                                                                                                                    Manager Geldhof of the decision to no longer
North                                                                                                                                                                               sell controls to this acct. I also email
Central   8164     Community Drug Center                    BC 8624997                          Manchester         Ky            4/30/12 No control purchases by customer           Shannon Allen at the State BOP               for CSMP reasons related to out-of-state scripts etc

                                                                                                                                                                                  On May 18,2012 I informed Diversion
                                                                                                                                                                                  Program Manager Geldhof of the decision to
North                                                                                                                                                                             resume selling controls to this acct. I also commitment of the customer to meet our requirements
Central   8164     Community Drug Center                    BC 8624997                          Manchester         Ky         5/18/2012  Other - explain in the commnents section email Shannon Allen at the State BOP         for proper diligence and restraint
                                                                                                                                         Constructive disengagement of
South       8126 Cooley Drugs                               AC9808683                           Waynesboro, MS     MS            1/31/12 secondary per VPGM                       N/A                                          erratic customer behavior led to disengagement
                                              Case: 1:17-md-02804-DAP Doc #: 2373-22 Filed: 08/14/19 4 of 10. PageID #: 388296


                                                                                                                                                                                                      MMS--discontinued because of mix/low sales; had
                                                                                                                                                                                                      been mentioned by Tampa DEA group when they
                                                                                                                                                                                                      audited DC; DO made Ops visit and we decided to
                                                                                                                                                                                                      close shortly thereafter; DEA later subpoenaed sales
South     8195   Country Value Pharmacy             FC2238752    PH24840     Boca Raton      FL      4/6/2011 Other - explain in the commnents section                                                records
North
East      8813   Crain Towers Pharmacy              BC8361343                Baltimore       MD        2/3/12   Threshold reduced                                                                     Reduced from 69,600 to 40,000 Oxycodone
West      8170   CVS 8826B                          BC3942693    Y004466     Bullhead City   Az        2/9/12   Threshold reduced                        Jeff Morgan/Phoenix                          Threshold reduced on oxycodone.
West      8170   CVS 9274B                          AC0571011    Y004498     Tucson          Az        2/9/12   Threshold reduced                        Jeff Morgan/Phoenix                          Threshold reduced on oxycodone.
West      8170   CVS 9309B                          FA1666974    Y005183     Fort Mohave     Az        2/9/12   Threshold reduced                        Jeff Morgan/Phoenix                          Threshold reduced on oxycodone.
North                                                                                                                                                                                                  level 3hydrocodone threshold, ultimately customer
Central   8132   D&S Pharmacy                       FD0127995   5301008571   Woodhaven       Mi.   04/14/2010 Level 3 - Termination of customer          Information not available                    closed due to lack of confidence in their processes.
                                                                                                                                                                                                      Based on due diligence we reduced the threshold on
West      8131   Dale's Phcy                        FO0152758   45000003     Ft Lupton       CO       2/20/12 Level 3 - Lowered threshold                Dan McCormick 2-20-12                        oxycodone and the oxycodone 30mg subset.
                                                                                                                                                                                                      All controlled substance shipments are suspended.
                                                                                                              Level 3 - Suspicious / Reported to                                                      Call made to the local DEA in Denver and a letter was
West      8131   Dale's Phcy                        FO0152758   45000003     Ft Lupton       CO       3/16/12 DEA/control sales suspended                Dan McCormick 3-19-12                        drafted and sent 3-19-12.
                                                                                                                                                                                                      Customer noted that they were cut off from controlled
                                                                                                                                                                                                      substance purchases by their previous wholesaler.
                                                                                                              New Customer not accepted for control                                                   We did not pick them up as a controlled substance
West      8170   Desert Sky Phcy                    FD1234323    Y005103     Peoria          AZ       2/15/12 purchases                                  Jeff Morgan/Phoenix                          customer.
                                                                                                                                                                                                      Based on site visit and re-evaluation, customer's
                                                                                                                                                                                                      thresholds were reduced to below baseline amounts on
West      8147   DOLCRX Pharmacy                    FD2280624    PH02657     Las Vegas       NV      12/14/11 Threshold reduced                          N/A                                          oxycodone, hydrocodone, and codeine
North
East      8813   Drug City Pharmacy                 AD2366183                Baltimore       MD        2/3/12 Threshold reduced                                                                       Reduceced from 272,000 to 60,000 Oxycodone
                                                                                                              Level 3 - Suspicious / Reported to                                                      Tier Three that we stopped supplying with controls and
West      8147   Drug Depot                         FD2356245     50418      Santa Ana       CA        8/1/11 DEA/control sales suspended                Michael Lewis/ LA                            were reported to the DEA
                                                                                                                                                                                                      Customer noted that they were cut off from controlled
                                                                                                                                                                                                      substance purchases by their previous wholesaler.
                                                                                                              New Customer not accepted for control                                                   We did not pick them up as a controlled substance
West      8170   Eagle Phcy #1                      FE2412334    Y005337     Glendale        AZ       2/15/12 purchases                                  Jeff Morgan/Phoenix                          customer.
                                                                                                                                                                                                      Customer noted that they were cut off from controlled
                                                                                                                                                                                                      substance purchases by their previous wholesaler.
                                                                                                              New Customer not accepted for control                                                   We did not pick them up as a controlled substance
West      8170   Eagle Phcy #2                      FP1538113    Y005161     Phoenix         AZ       2/15/12 purchases                                  Jeff Morgan/Phoenix                          customer.
                                                                                                                                                                                                      Declined to take on business after a visit and internet
                                                                                                                                                                                                      search produced a less than comfortable feeling that
North                                                                                                         New Customer not accepted for control      Reported to the Columbus office, Jeff        the owner was dedicated to diversion prevention and
Central   8164   East Main Phcy                     na             na        Columbus        oh        3/1/09 purchases                                  Conners, summer of2009                       clean processes.
                                                                                                                                                         On Nov 8th,2012 I informed Diversion
North                                                                                                                                                    Program Manager Collier of the decision to
Central   8183   Eastside Discount Pharmacy         BE3814541                Poplar Bluff    Mo        8/6/12 No control purchases by customer           stop selling controls to this acct.          For CSMP reasons related to Pain Clinic.
                                                                                                              Level 3 - Suspicious / Reported to         Called and left a message with Mike          Customer was servicing a pain clinic in the same
West      8170   Estrella Pharmacy                  BE9738026    Y004419     Phoenix         AZ       9/30/11 DEA/control sales suspended                Grafton/Phoenix                              building.
                                                                                                                                                                                                      After initial review and report to the DEA as
                                                                                                                                                                                                      suspicious, customer made adjustments to their
                                                                                                                                                                                                      practice and created a internal policy for review of
                                                                                                                                                                                                      suspicious prescriptions, patients and doctors.
                                                                                                                                                                                                      Customer was reinstated with full privileges but at a
West      8147   Express Pharmacy                   FE1766609     50150      Bakersfield     CA      12/14/11 Other - explain in the commnents section Rachel Aranas/Fresno                           lower threshold level for hydrocodone.
                                                                                                              Level 3 - Suspicious / Reported to
West      8147   Express Pharmacy                   FE1766609     50150      Bakersfield     CA       12/2/11 DEA/control sales suspended              Rachel Aranas/Fresno                           Reported to local DEA office with a follow up letter.

                                                                                                                                                                                                      All controlled substance shipments are suspended.
                                                                                                              Level 3 - Suspicious / Reported to                                                      Call made to the local DEA in Tampa and a letter was
South      8195 Express Pharmacy                    FM1147342   PH23590      Tampa           FL     3/21/2012 DEA/control sales suspended                Roberta Goralczyk 3/21/12                    drafted and sent to Miami Acting DPM 3/21/12.
                                                                                                                                                         Ms Lindsey Malocu Diversion Investigator
                                                                                                                                                         DEA Techworld Plaza 800 K St NW
North                                                                                                         Level 3 - Suspicious / Reported to         Suite 500 Washington, DC 20001
East      8813   Family Meds Pharmacy               FF1958719                Waldorf         MD       1/13/12 DEA/control sales suspended                Letter sent 1/16/12                          Same owner as Accokeek Pharmacy
North                                                                                                         Level 3 - Suspicious / Reported to         Ms Lindsey Malocu Diversion Investigator
East      8813   Family Meds Pharmacy               FF1958719                Waldorf         MD       1/13/12 DEA/control sales suspended                Washington DC                                Same owner as Accokeek Pharmacy
                                                                                                                                                                                                      After additional regulatory review, customer was
                                                                                                                                                                                                      reinstated for all base codes with the exception of
                                                                                                                                                                                                      hydrocodone and oxycodone. Customer will not be
West      8147   Family Pharmacy                    FF1382542   MP00628      Pahrump         NV       7/27/12 Other - explain in the commnents section Jayne Griffin/Las Vegas                        supplied with either of those basecodes.
                                                                                                                                                                                                      All controlled substance shipments are suspended.
                                                                                                                                                                                                      Call made to the local DEA in Las Vegas and a letter
West      8147   Family Pharmacy                    FF1382542   MP00628      Pahrump         NV       5/18/12 No control purchases by customer           Jayne Griffin/Las Vegas                      was drafted and sent 5-18-12.
                                                                                                                                                                                                      Based on site visit and regulatory review, customer's
                                                                                                                                                                                                      thresholds were reduced significantly on oxycodone,
West      8147   Family Pharmacy                    FF1382542   MP00628      Pahrump         NV       12/7/11 Threshold reduced                          Jayne Griffin/Las Vegas                      hydrocodone
                                                                                                              New Customer not accepted for control                                                   New customer application denied due to regulatory
West      8147   Farmacia Del Pueblo                N/A          PH02238     Las Vegas       NV       2/15/12 purchases                                  Jayne Griffin/Las Vegas                      review.
                                                                                                              New Customer not accepted for control                                                   Review of practice, data, RSM discussion led MCK not
West      8182   Fruitvale Pharmacy                 FF1706956   PHY50064     Fruitvale       CA       8/10/12 purchases                                  Penny Korte/Sacramento Field Office          to open
                                            Case: 1:17-md-02804-DAP Doc #: 2373-22 Filed: 08/14/19 5 of 10. PageID #: 388297


                                                                                                                  New Customer not accepted for control                                                  RSM scrutiny led DC not to open account related to
South     8195   G&H Pharmacy                        n/a             PH21246     Pinellas Park    FL   10/31/2011 purchases                                                                              other investigations
                                                                                                                                                                                                         multiple visits--Mahoney, Cox, S. Miller, Klimek 180K--
South     8195   Garden Drugs                        BJ3675456        PH261      Ft. Lauderdale   FL     1/4/2012 Threshold reduced                                                                      >90K-->45K; Florida HB 7095
                                                                                                                   New Customer not accepted for control                                                 review of practice, data, RSM discussion led MCK not
South     8195   Generic Depot                       n/a             PH15122     Pembroke Pines   FL   10/31/2010 purchases                                                                              to open
                                                                                                                   New Customer not accepted for control                                                 review of practice, data, RSM discussion led MCK not
South     8195   Generic Depot #2                    n/a             PH15730     Pembroke Pines   FL   10/31/2010 purchases                                                                              to open
                                                                                                                   Level 3 - Suspicious / Reported to
South     8195   Generic Rx                          FG1524657       PH24161     Ft. Lauderdale   FL    11/7/2011 DEA/control sales suspended              Barbara McGrath, Miami DPM                    Reported to local DEA office with a follow up letter.
                                                                                                                   Disengagement with customer after DEA
                                                                                                                   request of records from pharmacy for KY                                               Disengagement with customer after DEA request of
South      8126 Greene's Super Drug                  BG9623489                   Lanett, AL       AL       1/31/12 patient scripts from GA                 N/A                                           records from pharmacy for KY patient scripts from GA
                                                                                                                                                                                                         Reduced the thresholds of Gwinn’s pharmacy,
North                                                                                                                                                                                                    eventually cut them off from controls purchasing
Central   8164   Gwins Phcy                          AG6027913       60000869A   Anderson         In      8/28/11 Level 3 - Lowered threshold               na                                           pending review
                                                                                                                  Customer terminated due to legal action /                                              when pharmacist indicted for trading drugs for sex, GM
South     8126 H & J Pharmacy                        BH9091276          n/a      Pinson           AL      Jun-'08 criminal action                                                                        closed account down
South       8195 Habana Hospital Pharmacy            AH0202226        PH1515     Tampa            FL     2/3/2012 Threshold reduced                         N/A

                                                                                                                                                                                                         All controlled substance shipments are suspended.
                                                                                                                  Level 3 - Suspicious / Reported to                                                     Call made to the local DEA in Tampa and a letter was
South      8195 Habana Hospital Pharmacy             AH0202226        PH1515     Tampa            FL    8/29/2012 DEA/control sales suspended              Susan Langston/Miami; Roberta Goralcyk        drafted and sent to Miami Acting DPM 8/29/12.
                                                                                                                                                           Ms Lindsey Malocu Diversion Investigator
                                                                                                                                                           DEA Techworld Plaza 800 K St NW               A high percentage of control scripts, 90% of
North                                                                                                             Level 3 - Suspicious / Reported to       Suite 500 Washington, DC 20001                Pharmacy's, were coming from one Dr Salerian in NW
East      8813   Herndon Pharmacy & Medical Supply   FH2358275                   Herndon          VA      11/9/11 DEA/control sales suspended              Letter sent 11/17/11                          Washington DC.
North                                                                                                             Level 3 - Suspicious / Reported to       Ms Lindsey Malocu Diversion Investigator      Dr Salerian was high script count, Oxycodone 30mg
East      8813   Herndon Pharmacy & Medical Supply   FH2358275                   Herndon          VA      11/9/12 DEA/control sales suspended              Washington DC                                 was >80% and many patients from WV.
                                                                                                                  New Customer not accepted for control                                                  New customer application denied due to regulatory
West      8147   Huntridge Phcy                      FP0071188       PH02165     Las Vegas        NV      2/27/12 purchases                                Jayne Griffin/Las Vegas                       review.
North
East      8813   Joppa Road Pharmacy                 BJ9328849                   Baltimore        MD       2/8/12 Threshold reduced                                                                      Reduced from 70,000 to 40,000 Oxycodone
North                                                                                                             Level 3 - Suspicious / Reported to                                                     Level 3, closed account and was reported to DEA.
East      8176   Just Here Pharmacy                  FJ1209724                   Philadelphia     PA              DEA/control sales suspended                                                            Business remains open.
North                                                                                                             Level 3 - Suspicious / Reported to                                                     Level 3, closed account and was reported to DEA.
East      8176   Just Here Pharmacy                  FJ1209724                   Philadelphia     PA              DEA/control sales suspended                                                            Business remains open.

                                                                                                                                                                                                         All controlled substance shipments are suspended.
                                                                                                                  Level 3 - Suspicious / Reported to                                                     Call made to the local DEA in Miami and a letter was
South      8195 Kezit Discount Pharmacy              FK2258374       PH24905     North Miami      FL    3/21/2012 DEA/control sales suspended              Susan Langston 3/21/12                        drafted and sent to Miami Acting DPM 3/21/12.
                                                                                                                                                           On Nov 8th,2012 I informed Diversion
North                                                                                                                                                      Program Manager Collier of the decision to
Central   8183   Kneibert Clinic Pharmacy            AK3819402                   Poplar Bluff     Mo       8/6/12 No control purchases by customer         stop selling controls to this acct.           For CSMP reasons related to Pain clinic.
                                                                                                                                                                                                         Reported to DEA/control sales suspended. Reported
                                                                                                                                                                                                         to local DEA office with a follow up letter. Received
South     8195   La Milagrosa Phamacy & Discount     FL0914108       PH23736     Miami            FL     3/6/2012 Other - explain in the commnents section Susan Langston, Miami Acting DPM              confirmation from Gayle Lane.
                                                                                                                                                                                                         DEA conducted a Raid. Upon our review of available
                                                                                                                                                                                                         iformation we froze (cut off) any purchases by Laabs of
North                                                                                                                                                                                                    any controlled drugs pending review. Customer
Central   8144   Laabs Pharmacy                      DEA#AL3934014      na       Milwaulkee       wi       9/30/11 Threshold frozen pending review         Laurie Kaufman 9-30/11                        subsequently went out of business.
South     8195   Lambright Pharmacy                  n/a             FL0745870   Tampa            FL   10/31/2008                                                                                        discontinued because of ratio/low sales

                                                                                                                                                                                                         Change of ownership and site visit prompted decision
                                                                                                                  New Customer not accepted for control                                                  to avoid a business relationship with this entity. No
West      8147   Lam's Phcy                          BD9670058       PH00650     Las Vegas        NV      8/31/09 purchases                                Jayne Griffin/Las Vegas                       orders ever shipped. Entity reported to the DEA.
                                                                                                                                                                                                         Level 3, closed account and was reported to DEA.
North                                                                                                             Level 3 - Suspicious / Reported to                                                     Pharmacist has his Pharmacy license pulled by State
East      8813   Lansdowne Pharmacy                  FL0306414                   Lansdowne        VA              DEA/control sales suspended                                                            of Virginia.
                                                                                                                                                                                                         Level 3, closed account and was reported to DEA.
North                                                                                                             Level 3 - Suspicious / Reported to       Edna C Hollerran-Naughton DEA                 Pharmacist has his Pharmacy license pulled by State
East      8813   Lansdowne Pharmacy                  FL0306414                   Lansdowne        VA      7/15/08 DEA/control sales suspended              Washington, DC                                of Virginia.
North                                                                                                             New Customer not accepted for control
East      8191   Levin's Pharmacy                    BL3478624       NY021509    Oceanside        NY       3/6/12 purchases                                N/A                                           Customer controls stopped by Kinday/Cardinal
                                                                                                                                                           Mr Joseph Brown Diversion Investigator DEA    Three doctors were 50% of the control scripts and not
                                                                                                                                                           211 South Boulevard Ave             Maple     in the same borough as the store.                 Dr
North                                                                                                             Level 3 - Suspicious / Reported to       Shade, NJ 08052                 Letter sent   Schiller Desgroties, Dr Tomasito Virey and Dr Dante
East      8176   Life Pharmacy                       FL1001077                   New York         NY       1/3/12 DEA/control sales suspended              1/4/2012                                      Cubangbang
                                                                                                                                                           Joseph R. Brown                               Three doctors were 50% of the control scripts and not
                                                                                                                                                           Diversion Investigator DEA              211   in the same borough as the store.                 Dr
North                                                                                                              Level 3 - Suspicious / Reported to      South Boulevard Ave                           Schiller Desgroties, Dr Tomasito Virey and Dr Dante
East      8176   Life Pharmacy                       FL1001077                   New York         NY        1/3/12 DEA/control sales suspended             Maple Shade, NJ 08052                         Cubangbang
                                                                                                                   Level 3 - Suspicious / Reported to
South     8195   Live and Let Live                   AL0210168        PH841      Miami            FL    11/7/2011 DEA/control sales suspended              Barbara McGrath, Miami DPM                    Reported to local DEA office with a follow up letter.
                                                                                                                   New Customer not accepted for control                                                 New customer application denied due to regulatory
West      8147   Loma Linda Phcy                     BL1312999       PH44306     Loma Linda       CA      4/16/12 purchases                                Ron Crabtree, Inland Empire GS                review.
                                             Case: 1:17-md-02804-DAP Doc #: 2373-22 Filed: 08/14/19 6 of 10. PageID #: 388298


North                                                                                                                                                             Reported to the Columbus office, Jeff        Reduced the threshold and got a commitment from the
Central   8164   Lonsingers                             BL2466717   RTP020636650 Danville            Oh       6/3/11 Threshold reduced                            Conners, 7/27/11                             owner to limit fills to the county in which he resides.

                                                                                                                                                                                                               All controlled substance shipments are suspended.
                                                                                                                     Level 3 - Suspicious / Reported to                                                        Call made to the local DEA in Tampa and a letter was
South      8195 Lutz Pharmacy                           FL1811656     PH24384     Lutz               FL    3/21/2012 DEA/control sales suspended                  Roberta Goralczyk 3/21/12                    drafted and sent to Miami Acting DPM 3/21/12.
North
East      8176   Manor Pharmacy                         AM8423080                 New Castle         DE       2/3/12 Threshold reduced                                                                         Reduced from 177,400 to 60,000 Oxycodone
                                                                                                                                                                                                               MMS--discontinued because of mix/low sales; erratic
South     8115   McGee's Pharmacy                       BM7522837        n/a      Baton Rouge        LA       Jul-'11 Other - explain in the commnents section                                                 owner behavior
                                                                                                                                                                                                               when we detected that he was filling for Florida docs,
                                                                                                                                                                                                               we questioned and warned that we would be reporting
                                                                                                                                                                                                               to DEA; he closed and sold out to CVS immediately
South     8148   Medical Plaza Pharmacy                 AJ2074615        n/a      North Charleston   SC      May-'10 Level 3 - Pending investigation                                                           thereafter
                                                                                                                                                                                                               40K-->15K; multiple visits Mahoney, Cox--received
South     8195   Medical Plaza Pharmacy                 FM1239183     PH23782     Ft. Lauderdale     FL    7/31/2011 Threshold reduced                                                                         DEA subpoena May-'11; Florida HB 7095
                                                                                                                     Level 3 - Suspicious / Reported to
South     8195   Medical Plaza Pharmacy of Plantation   FM1239183     PH23782     Plantation         FL    11/7/2011 DEA/control sales suspended                  Barbara McGrath, Miami DPM                   Reported to local DEA office with a follow up letter.
                                                                                                                                                                  On May 23,2012 I informed Diversion
North                                                                                                                                                             Program Manager Collier of the decision to
Central   8183   Medicine and Healthcare                BM8854653                 Ellisville         Mo      5/23/12 No control purchases by customer             stop selling controls to this acct.          for CSMP reasons related to out-of-state scripts etc
South     8148   Medicine Center Pharmacy               BM5868267        n/a      Atlanta            GA      Sep-'10 No control purchases by customer                                                          discontinued because of ratio/low sales
                                                                                                                                                                                                               During visit customer remarked that with advent of
South      8195 Medicine Shoppe Tampa                   FN0840303     PH23296     Tampa              FL   11/20/2011 Threshold reduced                            N/A                                          PDMP, he didn't need as much oxycodone
                                                                                                                      Constructive disengagement of
South      8126 Mike's Pharmacy                         AM7415587                 Tracy City, TN     TN       1/31/12 secondary per VPGM                          N/A
                                                                                                                      Level 3 - Suspicious / Reported to                                                       Level 3; reported to DEA; filling for Houston docs--
South     8126   Modern Drug of Bayou Le Batre          BM2472570        n/a      Bayou Le Batre     AL       Feb-'09 DEA/control sales suspended                 Pat Millier, Birmingham Group Supervisor     DEA expired
North                                                                                                                 Customer terminated due to legal action /
Central   8132   Mykals Discount Phcy                   FM1772739    5301009264   Detroit            Mi   01/28/2011 criminal action                              na                                           closed due to DEA raid.
North                                                                                                                 Customer terminated due to legal action /
Central   8132   Mykals Discount Phcy #2                FM2299887    5301009423   Detroit            Mi   01/27/2011 criminal action                              na                                           closed due to DEA raid.
North                                                                                                                 Level 3 - Suspicious / Reported to                                                       Level 2, Dr Werther was reported to DEA. Dr and
East      8176   Northeast Pharmacy                     FN0841418                 Philadelphia       PA               DEA/control sales suspended                                                              Pharmacist arrested 20 months later

North                                                                                                                Level 3 - Suspicious / Reported to                                                        Level 2, Dr Werther was reported to DEA. Dr and
East      8176   Northeast Pharmacy                     FN0841418                 Philadelphia       PA       1/8/00 DEA/control sales suspended                  DEA Agent Stephen Dougherty                  Pharmacist arrested 20 months later. Account closed.
                                                                                                                     Level 3 - Suspicious / Reported to                                                        Tier Three that we stopped supplying with controls and
West      8147   NuCare                                 RN0272322       3995      Orange             CA      11/1/10 DEA/control sales suspended                  Michael Lewis/ LA                            were reported to the DEA
North
East      8176   Olde Philly Pharmacy                   BO9638113                 Philadelphia       PA       2/3/12 Threshold reduced                                                                         Reduced from 73,500 to 40,000 Oxycodone
                                                                                                                                                                                                               Customers to which controlled substance thresholds
                                                                                                                                                                                                               were reduced or supplies were discontinued due to
West      8147   Pathways                               FC1878113     ph02590     SoCal              NV      2/16/11 No control purchases by customer             Jayne Griffin/Las Vegas                      business decision.
North
East      8176   Pharmacy of America                    FP1390397                 Philadelphia       PA       2/3/12 Threshold reduced                                                                         Reduced from 104,400 to 40,000 Oxycodone
                                                                                                                                                                                                               All controlled substance shipments are suspended.
                                                                                                                                                                                                               Reveived a call from the local DEA investigator
                                                                                                                                                                                                               alerting us that this account had surrendered their DEA
West      8131 Platte Valley Phcy                       FP0340353       690       Brighton           CO      5/21/12 No control purchases by customer             Dan McCormick                                license.
South       8195 PRX/Borinquen                          BP4710403     PH13731     Miami              FL     2/3/2012 Threshold reduced                            N/A
                                                                                                                                                                                                               IL was a prospect in 2008/2009 and we chose not to
                                                                                                                                                                                                               do business with them based on information about
North                                                                                                                New Customer not accepted for control                                                     another pharmacy the owner had in Salt Lake City
Central   8144   Rand Phcy                              na               na       Des Plaines        IL      2008/09 purchases                                    na                                           called Roots Pharmacy

South     8115   Rayford Pharmacy                       FR2384559        n/a      Houston            TX       Mar-'11 Other - explain in the commnents section                                                 MMS--discontinued because of mix/low sales
                                                                                                                      New Customer not accepted for control                                                    Customer application denied based on regulatory
West      170    Red Mountain Phcy                      FR1381362     Y005142     Mesa               AZ      6/19/12 purchases                                 Jeff Morgan/Phoenix                             review.
                                                                                                                      New Customer not accepted for control
South      8195 Red Parrot Distribution                               22:20190    Tampa              FL   10/31/2011 purchases                                 N/A
North                                                                                                                 Level 3 - Suspicious / Reported to                                                       Level 3, closed account and was reported to DEA and
East      8176   Renaissance Pharmacy                   FR0704040                 Claymont           DE               DEA/control sales suspended                                                              arrested 15 months later
                                                                                                                                                                                                               Level 3, closed account after visiting and seeing that
North                                                                                                                 Level 3 - Suspicious / Reported to                                                       many scripts coming from Dr Wong. Customer was
East      8176   Renaissance Pharmacy                   FR0704040                 Claymont           DE        2/9/09 DEA/control sales suspended                 DEA Agent Phillip Reed                       reported to DEA and arrested 15 months later
                                                                                                                      New Customer not accepted for control                                                    review of practice, data, RSM discussion led MCK not
South     8195   Robert's Drug Store                    n/a           PH18895     Miami              FL    4/30/2011 purchases                                                                                 to open
                                                                                                                      New Customer not accepted for control                                                    review of practice, data, RSM discussion led MCK not
South     8195   Robert's Drug Store #2                 n/a           PH17042     Miami              FL    4/30/2011 purchases                                                                                 to open
                                                                                                                      New Customer not accepted for control                                                    review of practice, data, RSM discussion led MCK not
South     8195   Robert's Drug Store #3                 n/a           PH17820     Miami              FL    4/30/2011 purchases                                                                                 to open
                                                                                                                      New Customer not accepted for control                                                    review of practice, data, RSM discussion led MCK not
South     8195   Robert's Drug Store #4                 n/a           PH21474     Miami              FL    4/30/2011 purchases                                                                                 to open
                                             Case: 1:17-md-02804-DAP Doc #: 2373-22 Filed: 08/14/19 7 of 10. PageID #: 388299


                                                                                                                                                                                                    Level 2, reduced account, then closed account and
North                                                                                                        Level 3 - Suspicious / Reported to                                                     reported Dr Ziscovici to DEA. Dr was arrested and had
East      8813   Rockville Pharmacy                FR1486340                 Rockville       MD              DEA/control sales suspended                                                            License pulled by State Medical Board of Virginia.

                                                                                                                                                                                                    Level 2, reduced account, then closed account and
North                                                                                                         Level 3 - Suspicious / Reported to        Walter Staples Group Supervisor             reported Dr Ziscovici to DEA. Dr was arrested and had
East      8813   Rockville Pharmacy                FR1486340                 Rockville       MD      3/10/10 DEA/control sales suspended                Washington DC                               License pulled by State Medical Board of Virginia.
                                                                                                              Level 3 - Suspicious / Reported to                                                    Level 3; reported to DEA; filling for Florida docs--still
South     8126   Rodgersville Discount Pharmacy    BR2913108       n/a       Rodgersville    AL       Jul-'11 DEA/control sales suspended               Pat Millier, Birmingham Group Supervisor    open

                                                                                                                                                                                                    All controlled substance shipments are suspended.
                                                                                                              Level 3 - Suspicious / Reported to                                                    Call made to the local DEA in Tampa and a letter was
South      8195 Royal Rx Pharmacy Inc              BR8806614    PH20046      Tampa           FL    3/21/2012 DEA/control sales suspended                Roberta Goralczyk 3/21/12                   drafted and sent to Miami Acting DPM 3/21/12.
North                                                                                                         New Customer not accepted for control
East      8772   Rx BlueStar                       BR9624847    PP481538     Evan City       PA        4/1/11 purchases                                 n/a                                         We declined to sign up as a Closed Door Pharmacy

                                                                                                                                                                                                    All controlled substance shipments are suspended.
                                                                                                             Level 3 - Suspicious / Reported to                                                     Call made to the local DEA in Miami and a letter was
South      8195 Sample Square Pharmacy             FN1282968    PH23936      Pompano Beach   FL    3/21/2012 DEA/control sales suspended                Susan Langston 3/21/12                      drafted and sent to Miami Acting DPM 3/21/12.
                                                                                                                                                                                                    level 3 lowered oxycodone and hydrocodone,
North                                                                                                                                                                                               ultimately customer closed due to lack of confidence in
Central   8132   Sav Max Pharmacy                  BS9578519    5301008294   Detroit         Mi   10/05/2010 Level 3 - Termination of customer          na                                          their processes
                                                                                                             New Customer not accepted for control                                                  review of practice, data, RSM discussion led MCK not
South     8195   Scripts R Us Pharmacy             n/a           PH24176     Titusville      FL   11/30/2010 purchases                                                                              to open

                                                                                                                                                                                                    All controlled substance shipments are suspended.
                                                                                                             Level 3 - Suspicious / Reported to                                                     Call made to the local DEA in Tampa and a letter was
South      8195 Seven Hills Pharmacy               FL0164638    PH22497      Sping Hill      FL    3/21/2012 DEA/control sales suspended                Roberta Goralczyk 3/21/12                   drafted and sent to Miami Acting DPM 3/21/12.
                                                                                                                                                                                                    Michigan BOP seized materials and attempted action
                                                                                                                                                                                                    but the license remained valid. Decision was made to
North                                                                                                                                                                                               end our association for general poor practices on the
Central   8132   Six Mile Pharmacy                 FS2233447       na        Detroit         mi    2/282009 Level 3 - Termination of customer           Mr. Wayne Groves 2/9/11                     customer's part.
North                                                                                                                                                                                               DEA pulled their control license. Still a customer just
East      8176   Squire Pharmacy                   BS7624249                 Springfield     PA      10/7/08 No control purchases by customer           Ms Julianne Dunphy DEA Philadelphia         no controls.
                                                                                                             Constructive disengagement of
South      8126 Stacey Drugs                       BS8485282                 Foley, AL       AL      1/31/12 secondary per VPGM                         N/A
North
East      8176   Stanton Discount Pharmacy         AS6054972                 Stanton         DE        2/3/12 Threshold reduced                                                                     Reduced from 102,500 to 40,000 Oxycodone
South     8195   Sunrise Pharmacy                  BA9106320       n/a       Sunrise         FL    7/31/2011 Threshold reduced                                                                      75K-->30K; Florida HB 7095

                                                                                                                                                                                                    • Manufacturer denying charge backs due to high
                                                                                                                                                                                                    volumes and multiple distributors
                                                                                                                                                                                                    • High Controls to standard Rx %
                                                                                                                                                                                                    • Other WD cutting off for high percentages of controls
                                                                                                                                                                                                    • % of cash sales high
                                                                                                                                                                                                    • Does not meet the minimum requirements required of
                                                                                                                                                                                                    Good Pharmacy Practices
                                                                                                                                                                                                    • Practice types providing scripts, etc.
                                                                                                                                                                                                    • Litigation
                                                                                                                                                                                                       o Dispensing for physician who has a consent
                                                                                                                                                                                                    decree with the Board of Pharmacy
                                                                                                                                                        Enrique Cancel, DEA Group Supervisor,          o PIC/Owner - Fined and had to undergo a
                                                                                                                                                        Drug Enforcement Agency, Richmond           comprehensive physical and mental exam. This was
North                                                                                                                                                   District Office, 111 Greencourt Road        the result of fraudulent prescriptions PIC wrote.
East      8120   Super Aid Pharmacy                BS9352131       N/A       Rich Creek      VA      2/19/13 No control purchases by customer           Richmond, VA 23228                          • Other WD cutting them.

South     8195   Tampa Express                     FT1900895       n/a       Tampa           FL    5/31/2011 Other - explain in the commnents section                                                MMS--discontinued because of mix/low sales
                                                                                                                                                        On 2/5/13 I informed Diversion Program
                                                                                                                                                        Manager Geldhof of the decision to no longer
North                                                                                                                                                   sell controls to this acct. I also emailed
Central   8132   Taylor Discount Pharmacy          FT0126183                 Taylor          Mi      1/30/13 No control purchases by customer           Michael Wissel at the State BOP              For CSMP reasons related to internal processes.

                                                                                                                                                                                                    All controlled substance shipments are suspended.
                                                                                                             Level 3 - Suspicious / Reported to                                                     Call made to the local DEA in Tampa and a letter was
South      8195 The Medicine Shop Trinity          FG0536132    PH22864      Trinity         FL    3/21/2012 DEA/control sales suspended                Roberta Goralczyk 3/21/12                   drafted and sent to Miami Acting DPM 3/21/12.
                                                                                                                                                                                                    This was when a pharmacist was filling scripts for
                                                                                                                                                      On Feb 20, 2008 I spoke to Joe Myer local     patients at a nursing home that had passed away and
                                                                                                                                                      dea who directed you to talk to Judy          charging it to the insurance company.It was in the
North                                                                                                                                                 Williams group supervisor for the Kansas city hands of the DEA already, we cut off their controls
Central   8183   The Medicine Shoppe               BR7456040    2001019642   Belton          MO       3/1/08 Other - explain in the commnents section dea division                                  right away and then closed the acct.
                                                                                                                                                      n May 23,2012 I informed Diversion Program
North                                                                                                                                                 Manager Collier of the decision to stop
Central   8183   The Medicine Shoppe               BH 4603406                Eureka          Mo      5/23/12 No control purchases by customer         selling controls to this acct.                 for CSMP reasons related to out-of-state scripts etc

                                                                                                                                                                                                    All controlled substance shipments are suspended.
                                                                                                             Level 3 - Suspicious / Reported to                                                     Call made to the local DEA in Miami and a letter was
South      8195 The Right Pill                     FT1368910    PH24018      Pompano Beach   FL    3/21/2012 DEA/control sales suspended                Susan Langston 3/21/12                      drafted and sent to Miami Acting DPM 3/21/12.
                                              Case: 1:17-md-02804-DAP Doc #: 2373-22 Filed: 08/14/19 8 of 10. PageID #: 388300


                                                                                                                                                                                                               All controlled substance shipments are suspended.
                                                                                                                     Level 3 - Suspicious / Reported to                                                        Call made to the local DEA in Miami and a letter was
South      8195 The Right Pill Boca                       FT1738371    PH24257      Boca Raton      FL     3/21/2012 DEA/control sales suspended               Susan Langston 3/21/12                          drafted and sent to Miami Acting DPM 3/21/12.
North                                                                                                                Customer terminated due to legal action / local office discussed this with the DC on or
Central   8132   Total Care                               FT1187500    5301009018   Oak Park        Mi.   07/14/2011 criminal action                           around 7/14/2011                                closed due to DEA investigation

                                                                                                                                                                On August 28 2012 I informed Diversion
                                                                                                                                                                Program Manager Geldhof of the decision to
North                                                                                                                                                           no longer sell controls to this acct. I also
Central   8132   United Pharmacy l                        FU 1799468                Garden City     Mi       8/28/12 No control purchases by customer           emailed Michael Wissel at the State BOP      For CSMP reasons related to fraud.

                                                                                                                                                                On August 28 2012 I informed Diversion
                                                                                                                                                                Program Manager Geldhof of the decision to
North                                                                                                                                                           no longer sell controls to this acct. I also
Central   8132   United Pharmacy ll                       FU2195964                 Dearborn        Mi       8/28/12 No control purchases by customer           emailed Michael Wissel at the State BOP      For CSMP reasons related to fraud.
                                                                                                                                                                                                             All controlled substance shipments are suspended.
                                                                                                                     Level 3 - Suspicious / Reported to                                                      Call made to the local DEA in Los Angeles and a letter
West      8147   Valley West Med Phcy                     FV0713013      48957      Alhambra        CA        9/4/12 DEA/control sales suspended                Marlon Whitfield, Los Angeles GS/9/4/12      was drafted and sent 9-5-12.

                                                                                                                                                                                                               All controlled substance shipments are suspended.
                                                                                                                     Level 3 - Suspicious / Reported to                                                        Call made to the local DEA in Tampa and a letter was
South      8195 Valrico Pharmacy                          FJ1284241    PH23823      Brandon         FL     3/21/2012 DEA/control sales suspended                Roberta Goralczyk 3/21/12                      drafted and sent to Miami Acting DPM 3/21/12.

                                                                                                                                                                                                               All controlled substance shipments are suspended.
                                                                                                                     Level 3 - Suspicious / Reported to                                                        Call made to the local DEA in Tampa and a letter was
South      8195 Value Rx, LLC                             FV1979244    PH24382      Brandon         FL     3/21/2012 DEA/control sales suspended                Roberta Goralczyk 3/21/12                      drafted and sent to Miami Acting DPM 3/21/12.
                                                                                                                                                                                                               Threshold for promethazine with codeine was reach.
                                                                                                                                                                                                               Physician's Assistant was noteworthy on volume per
                                                                                                                                                                                                               month. Customer did not receive and increase and PA
West      8147   Vernon Central Phcy                      BV3992799     PH20017     Los Angeles     CA       4/16/12 Other - explain in the commnents section Marlon Whitfield, Los Angeles GS                 was reported to the DEA.
North
East      8176 Verree Pharmacy                            BV1068546                 Philadelphia    PA         2/3/12 Threshold reduced                                                                        Reduced from 109,300 to 70,000 Oxycodone
South       8195 VH Pharmacy                              AV6332441     PH6012      Miami           FL    12/20/2011 Threshold reduced                          N/A

                                                                                                                                                                                                               Thresholds capped. Customer terminated business
West      8147   Wellcare II                              FW1294898     PH02288     Las Vegas       NV       10/1/11 Other - explain in the commnents section Jayne Griffin/Las Vegas                          relationship and went to competitor.

                                                                                                                     New Customer not accepted for control                                                     Customer application denied based on regulatory
West      8147   Westcliff Compounding Phcy               FW2500432    PHY50599     Newport Beach   CA       7/20/12 purchases                                  Mike Lewis                                     review.
                                                                                                                                                                                                               All controlled substance shipments are suspended.
                                                                                                                     Level 3 - Suspicious / Reported to                                                        Call made to the local DEA in Sacramento and a letter
West      8182   Westside Plaza Phcy                      BW7566170    PHY45161     Modesto         CA        8/1/12 DEA/control sales suspended                Penny Korte/Sacramento Field Office            was drafted and sent 8-1-12.
                                                                                                                     New Customer not accepted for control                                                     Customer was denied service after initial review of
West      8147   WhiteCross                               BB8426264     PH00503     Las Vegas       NV        7/1/10 purchases                                  Jayne Griffin/Las Vegas                        business. Reported to the DEA.

                                                                                                                                                                                                               All controlled substance shipments are suspended.
                                                                                                                     Level 3 - Suspicious / Reported to                                                        Call made to the local DEA in Tampa and a letter was
South     8195   Winn-Dixie Pharmacy #2273                BW6090017     PH16245     Casselberry     FL     4/23/2012 DEA/control sales suspended                Susan Langston 4/23/12                         drafted and sent to Miami Acting DPM 4/23/12.
                                                                                                                                                                                                               Manufacturer denying charge backs due to high
                                                                                                                                                                                                               volumes and multiple distributors
                                                                                                                                                                Ms. Linda Staller, Diversion Program           • Not meetings the minimum requirements required of
North                                                                                                                                                           Investigator, Richmond District Office         Good Pharmacy Practices
East      8120   Woodbridge Pharmacy                      FW2202517       N/A       Woodbridge      VA       1/16/13 Level 3 - Termination of customer          111 Greencourt Road Richmond, VA 23228         • High Controls to standard Rx %
                                                                                                                     New Customer not accepted for control                                                     Customer application denied based on regulatory
West      8170   Xpress Care Phcy #4                      FX2412322      5332       Phoenix         AZ       6/19/12 purchases                                  Jeff Morgan/Phoenix                            review.
                                                                                                                                                                                                               Customer closed account due to McKesson not
South     8165   Raney Drug                               BR8526886      11412      Idabell         OK        9/1/09                                            N/A                                            increasing hydro threshold requests.
                                                                                                                     Level 3 - Suspicious / Reported to
South     8115   Med-Rite                                 BM7421251                 Houston         TX      10/24/12 DEA/control sales suspended                Ltr sent to DPM Latimore dated 10/12/12
                                                                                                                                                                                                               Customer was terminated because of small order
South     8115   Super Script Pharmacy                    FS2256356      27097      Houston         TX       10/1/11 Other - explain in the commnents section                                                  volume with mostly controls.
                                                                                                                                                                                                               Low volume acct we could no longer support their
                                                                                                                                                                                                               business model as well as sole purchases of controls
South     8149   Lanning Discount                         FL1826671      1819       Lawrenceburg    TN       8/10/12 Other - explain in the commnents section                                                  from McKesson.
                                                                                                                                                                                                               Low volume acct that no longer supported oxy,
South     8149   Dale Hollow                              FD2546197      3817       Celina          TN       8/23/12 Threshold reduced                                                                         alprazolam and hydro.
                 TCR Reduction prometh and codiene (see                                                                                                                                                        Prometh and codiene decreases after review of
South     8149   TCR approved by DRA 07/31/12)            Various                   Various                  7/31/12 Threshold reduced                                                                         previous season purchases for 204 accts.
                                                                                                                                                                                                               Low volume acct we could no longer support their
                                                                                                                                                                                                               business model as well as high % of control
South     8149   Dale Hollow                              FD2546197      3817       Celina          TN      10/31/12 Other - explain in the commnents section                                                  purchases.
                                                                                                                                                                                                               Low volume account we could no longer support their
                                                                                                                                                                                                               business model as well as high % of control
South     8149   Clay County Express                      FC2576796      4868       Celina          TN      10/31/12 Other - explain in the commnents section                                                  purchases.
                                              Case: 1:17-md-02804-DAP Doc #: 2373-22 Filed: 08/14/19 9 of 10. PageID #: 388301


                                                                                                                                                                                                           Low volume acct we could no longer support their
                                                                                                                                                                                                           business model as well as high % of control
South     8149   Marion Discount                             AM722176    AR09385      Marion         AR   10/31/12 Other - explain in the commnents section                                                purchases.
                                                                                                                                                                                                           Low volume acct; purchases from McKesson were as
                                                                                                                                                                                                           secondary acct; we could no longer support their
                                                                                                                                                                                                           business model as well as high % of control
South     8149   The Prescription Shop                       ?           00609/01.1   Carthage       MS    2/25/13 Other - explain in the commnents section                                                purchases.
                                                                                                                                                                                                           Reviewed 4 mo purchase history and set threshold
South     8149   Bradley Drug                                AB3470426      912       Nashville      TN   10/26/12 Threshold reduced                                                                       accordingly for oxy.
                 Bulk TCR Reduction (see TCR approved by                                                                                                                                                   50% reduction in all thresholds for 8 accts; RSM's
South     8149   DRA 07/31/12)                               Various                                       7/31/12 Threshold reduced                                                                       working to move accts over to primary.
                                                                                                                                                                                                           Controls cut off of 9 low volume accts and/or where
                 TCR cut off controls (see TCR appr by DRA                                                                                                                                                 McKesson is secondary acct with no plan to move over
South     8149   07/31/12)                                   Various                                       7/31/12 Other - explain in the commnents section                                                to primary.
                                                                                                                                                                                                           Reviewed 4 mo purchase history and set threshold
South     8149   Plaza Pharmacy                              BS3914214      119       Nashville      TN     2/6/13 Threshold reduced                                                                       accordingly for oxy 30 and alprazolam.
                                                                                                                                                                                                           Reviewed 4 mo purchase history and set threshold
South     8149   The Wellness Pharmacy                       BT7485166     3712       Antioch        TN    1/25/13 Threshold reduced                                                                       accordingly for oxy 30, hydro and alprazolam.
                                                                                                                                                                                                           Reviewed 4 mo purchase history and set threshold
South     8149   Southside Drug                              AS5549134     1150       Springfield    TN     2/6/13 Threshold reduced                                                                       accordingly for oxy 30, hydro and alprazolam.
                                                                                                                                                                                                           Reviewed 4 mo purchase history and set threshold
South     8149   Professional Arts Pharmacy                  BP4271677     3010       Hermitage      TN    1/25/13 Threshold reduced                                                                       accordingly for oxy, hydro and alprazolam.
                                                                                                                                                                                                           Reviewed 4 mo purchase history and set threshold
South     8149   Springfield Drugs                           AS6964135     1148       Springfield    TN    1/25/13 Threshold reduced                                                                       accordingly for oxy 30 and alprazolam.
                                                                                                                                                                                                           Reviewed 4 mo purchase history and set threshold
South     8149   Pharmacare Prescriptions                    BP6944044     3598       Mt. Juliet     TN    1/25/13 Threshold reduced                                                                       accordingly for oxy 30.
                                                                                                                                                                                                           Reviewed 4 mo purchase history and set threshold
South     8149   Greenbriar Pharmacy                         BG9638137     4225       Greenbriar     TN    1/25/13 Threshold reduced                                                                       accordingly for oxy 30.
                                                                                                                                                                                                           Reviewed 4 mo purchase history and set threshold
South     8149   Bradley Drug                               AB3470426       912       Nashville      TN    1/25/13 Threshold reduced                                                                       accordingly for alprazolam.
                 Bulk oxy 30 reduction (see TCR approved by                                                                                                                                                Reviewed 4 mo purchase history and set threshold
South     8149   DRA 2/8/13)                                Various                                        2/14/13 Threshold reduced                                                                       accordingly for oxy 30 for 178 accts.
                                                                                                                                                                                                           All controlled substance shipments are suspended.
                                                                                                                                                                                                           Call made to the local DEA in Oakland and a letter was
west      8182   High Street Pharmacy                        FH0605507     48720      Oakland        CA    4/18/13 Level 3 - Termination of customer          Rica Rachut/Oakland Field Office             drafted and sent 4-18-13.
                                                                                                                                                                                                           DEA notified McKesson that the customer surrendered
South     8165   SMA Pharmacy #20                            FS0794291      Unk       Mansfield      TX    4/25/13 Level 3 - Termination of customer          DPM Lisa Sullivan/Dallas FD                  registration
                                                                                                                                                                                                           DEA notified McKesson that customer had
                                                                                                                                                                                                           surrendered their registration at the SMA #20 store,
                                                                                                                                                                                                           thus all of their accounts were suspended while due
South     8165   SMA Pharmacy #10                            FS0794277      Unk       Dallas         TX    4/25/13 Other - explain in the commnents section DPM Lisa Sullivan/Dallas FD                    diligence was conducted
                                                                                                                                                                                                           DEA notified McKesson that customer had
                                                                                                                                                                                                           surrendered their registration at the SMA #20 store,
                                                                                                                                                                                                           thus all of their accounts were suspended while due
South     8165   SMA Pharmacy                                FS0040927      Unk       Mansfield      TX    4/25/13 Other - explain in the commnents section DPM Lisa Sullivan/Dallas FD                    diligence was conducted
                                                                                                                                                                                                           DEA notified McKesson that customer had
                                                                                                                                                                                                           surrendered their registration at the SMA #20 store,
                                                                                                                                                                                                           thus all of their accounts were suspended while due
South     8165   Wynnewood Village Pharmacy                  FW2061240      Unk       Dallas         TX    4/25/13 Other - explain in the commnents section DPM Lisa Sullivan/Dallas FD                    diligence was conducted
                                                                                                                                                                                                           DEA notified McKesson that customer had
                                                                                                                                                                                                           surrendered their registration at the SMA #20 store,
                                                                                                                                                                                                           thus all of their accounts were suspended while due
South     8165   A&C Discount Pharmacy                       FA1592650      Unk       Cedar Hill     TX    4/25/13 Other - explain in the commnents section DPM Lisa Sullivan/Dallas FD                    diligence was conducted
South     8149   Allied Health Sterling                      FA2204989      Unk       Melbourne      AR    4/25/13 Level 3 - Lowered threshold              NA                                             DC approval to lower threshold due to non-use.

                                                                                                                                                              On May 1 2013 I informed Diversion Program
                                                                                                                                                              Manager Geldhof of the decision to no longer
North                                                                                                                                                         sell controls to this acct. I also emailed
Central   8132   LA PHCY 1298                                FL3613913      Unk       DEARBORN       Mi     5/1/13 Level 3 - Termination of customer          Michael Wissel at the State BOP              For CSMP reasons related to fraud.
                                                                                                                                                              On May 1 2013 I informed Diversion Program
                                                                                                                                                              Manager Geldhof of the decision to no longer
North                                                                                                                                                         sell controls to this acct. I also emailed
Central   8132   UNITED PHARMACY 1098                        FU3205805      unk       Ann Arbor      Mi     5/1/13 Level 3 - Termination of customer          Michael Wissel at the State BOP              For CSMP reasons related to fraud.
                                                                                                                                                                                                           All controlled substance shipments are suspended.
                                                                                                                                                                                                           Call made to the local DEA in Las Vegas and a letter
West      8147   City Centre Pharmacy                        FC3463116   PH02854      Las Vegas      NV    5/10/13   Level 3 - Termination of customer        Jayne Griffin/Las Vegas                      was drafted and sent 5-18-12.
South     8165   Bailey, James/WC INT                        AB7193597     Unk        Tulsa          OK     5/2/13   Threshold reduced                        NA                                           DRA lowering of threshold due to non-use.
South     8165   Farish, Kent/WARREN                         AF2168551     Unk        Tulsa          OK     5/2/13   Threshold reduced                        NA                                           DRA lowering of threshold due to non-use.
South     8165   Hill, Riley/WC 256                          AH3180902     Unk        Broken Arrow   OK     5/2/13   Threshold reduced                        NA                                           DRA lowering of threshold due to non-use.
South     8165   Mizell, James/Intern                        AM5568108     Unk        Tulsa          OK     5/2/13   Threshold reduced                        NA                                           DRA lowering of threshold due to non-use.
South     8165   Roman, Vincent/WC                           AR2602301     Unk        Jenks          OK     5/2/13   Threshold reduced                        NA                                           DRA lowering of threshold due to non-use.
South     8165   Burghart, Francine                          BB2424391     Unk        Sand Springs   OK     5/2/13   Threshold reduced                        NA                                           DRA lowering of threshold due to non-use.
South     8165   Brown, Terry/WC ST                          BB4828705     Unk        Stillwater     OK     5/2/13   Threshold reduced                        NA                                           DRA lowering of threshold due to non-use.
South     8165   Dutton-Gaddis, Jone                         BD3285497     Unk        Tulsa          OK     5/2/13   Threshold reduced                        NA                                           DRA lowering of threshold due to non-use.
South     8165   Fincher, Stephen/WC                         BF2905810     Unk        Tulsa          OK     5/2/13   Threshold reduced                        NA                                           DRA lowering of threshold due to non-use.
South     8165   Hauger, Robert/WC                           BH4103381     Unk        Tulsa          OK     5/2/13   Threshold reduced                        NA                                           DRA lowering of threshold due to non-use.
                                          Case: 1:17-md-02804-DAP Doc #: 2373-22 Filed: 08/14/19 10 of 10. PageID #: 388302


South     8165   Haas, Frances/WC               BH5035729   Unk   Tulsa      OK    5/2/13   Threshold reduced                     NA                                         DRA lowering of threshold due to non-use.
South     8165   Herbel, Randall/WC             BH5460263   Unk   Tulsa      OK    5/2/13   Threshold reduced                     NA                                         DRA lowering of threshold due to non-use.
South     8165   Khouw, Andrew/End              BK1202833   Unk   Tulsa      OK    5/2/13   Threshold reduced                     NA                                         DRA lowering of threshold due to non-use.
South     8165   Reinking, Richard/WC           BR1328865   Unk   Tulsa      OK    5/2/13   Threshold reduced                     NA                                         DRA lowering of threshold due to non-use.
South     8165   Coulter, Michele/WC            BS4679722   Unk   Tulsa      OK    5/2/13   Threshold reduced                     NA                                         DRA lowering of threshold due to non-use.
South     8165   Barnes, Sharon/WC              BB5471747   Unk   Owasso     OK    5/2/13   Threshold reduced                     NA                                         DRA lowering of threshold due to non-use.
                                                                                                                                                                             All controlled substance shipments are suspended.
                                                                                                                                  Mr Joseph Fontana Diversion Investigator   Letter was drafted and sent 4-5-13. Customer had
North                                                                                     Level 3 - Suspicious / Reported to      DEA 211 South Boulevard Ave                ordered a months supply on first day of the month of
East      8176   Costco #329                    BC8164597   unk   Ocean      NJ    4/4/13 DEA/control sales suspended             Maple Shade, NJ 08052                      oxy 30mg.
                                                                                                                                  Mr Joseph Fontana Diversion Investigator   Customer had thresholds reduced by53% on Oxy
North                                                                                                                             DEA 211 South Boulevard Ave                30mg. DRA met with Costco Reg Mgt to review
East      8176   Costco #329                    BC8164597   unk   Ocean      NJ   4/12/13   Threshold reduced                     Maple Shade, NJ 08052                      doctors they were filling scripts for.
South     8195   Palm Plaza Pharmacy HM         FB2465323   unk   Tampa      FL   5/15/13   Threshold reduced                     NA                                         DC lowering of threshold due to non-use
South     8195   Rx to You Pharmacy             FR2785105   unk   Stuart     FL   5/15/13   Threshold reduced                     NA                                         DC lowering of threshold due to non-use
South     8195   The Drug Shoppe Inc            BT8461167   unk   Tampa      FL   5/15/13   Threshold reduced                     NA                                         DC lowering of threshold due to non-use
                                                                                                                                                                             Declined to take on business after a visit and internet
                                                                                                                                                                             search produced a less than comfortable feeling that
North                                                                                     New Customer not accepted for control   Reported to the Columbus office, Jeff      the owner was dedicated to diversion prevention and
Central   8164   Pharma 1                       na          unk   Columbus   Oh    4/3/12 purchases                               Conners, 4/12                              clean processes.
